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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

Chattanooga Professional Baseball LLC         §
d/b/a Chattanooga Lookouts; Agon Sports       §
and Entertainment LLC; Boise Hospitality      §
and Food Services LLC; Boise Professional     §
Baseball LLC; Columbia Concessions &          §
Catering LLC; Columbia Fireflies LLC          §
d/b/a Columbia Fireflies; Eugene Emeralds     §
Baseball Club Inc. d/b/a Eugene Emeralds;     §
Evans Street Baseball Inc. d/b/a              §
Binghamton Rumble Ponies; Fort Wayne          §
Professional Baseball LLC d/b/a Fort          §
Wayne TinCaps; Fredericksburg Baseball        §
LLC d/b/a Fredericksburg Nationals;           §
Greenjackets Baseball LLC; Greenjackets       §   Case No. 2:20-cv-03032-TJS
Hospitality Food & Beverage Services          §
LLC; Greenville Drive LLC; Idaho Falls        §
Baseball Club Inc. d/b/a Idaho Falls          §
Chukars; Inland Empire 66ers Baseball         §
Club of San Bernardino Inc. d/b/a Inland      §
Empire 66ers; Panhandle Baseball Club         §
Inc. d/b/a Amarillo Sod Poodles; SAJ          §
Baseball LLC; San Antonio Missions            §
Baseball Club Inc. d/b/a San Antonio          §
Missions; 7th Inning Stretch LLC d/b/a        §
Stockton Ports; 7th Inning Stretch LP d/b/a   §
Delmarva Shorebirds;                          §
                                              §
              Plaintiffs,

v.

Philadelphia Indemnity Insurance Co.;
Acadia Insurance Co.; National Casualty
Co.; Scottsdale Indemnity Co.; Scottsdale
Insurance Co.

              Defendants.
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    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs and their

counsel hereby give notice that the above-styled action is voluntarily dismissed, without prejudice,

in its entirety against all Defendants.

 Dated: July 2, 2020                                 Respectfully submitted,

                                                     /s/ Andrew L Sandler
                                                     Andrew L Sandler (PA Bar I.D. 40142)
                                                     Mitchell Sandler LLC
                                                     1120 20th Street NW, Suite 725
                                                     Washington, DC 20036
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                                                     Attorney for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2020, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

this day via First Class U.S. Mail, postage paid on the following:

Acadia Insurance Company
One Acadia Commons
Westbrook, ME 04092

Philadelphia Indemnity Insurance Company
One Bala Plaza, Suite 100
231 St. Asaphs Rd.
Bala Cynwyd, PA 19004

National Casualty Company
8877 North Gainey Center Drive
Scottsdale, AZ 85258

Scottsdale Insurance Company
8877 North Gainey Center Drive
Scottsdale, AZ 85258

Scottsdale Indemnity Company
8877 North Gainey Center Drive
Scottsdale, AZ 85258


 Dated: July 2, 2020                                /s/ Andrew L Sandler
                                                    Andrew L Sandler (PA Bar I.D. 40142)
                                                    Mitchell Sandler LLC
                                                    1120 20th Street NW, Suite 725
                                                    Washington, DC 20036
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                                                    Attorney for Plaintiffs




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